                               Case 2:23-cv-04381-MEMF-E     Document 22     Filed 09/08/23   Page 1 of 2 Page ID
                                                                   #:377



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                                  Attorneys for HINSHAW &
                                6 CULBERTSON, LLP
                                7
                                8                       UNITED STATES DISTRICT COURT
                                9        CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
                               10
                               11 Amy R. Weissbrod, US Patentee,               Case No. 2:23-cv-04381-MEMF-E
                                  Plaintiff California State Bar #87419,
501 WEST BROADWAY, SUITE 600
 SAN DIEGO, CALIFORNIA 92101




                               12                                              DEFENDANT HINSHAW &
                                                Plaintiff,                     CULBERTSON, LLP'S NOTICE OF
                               13                                              MOTION TO DISMISS PURSUANT
        KLINEDINST PC




                                         v.                                    TO CR 12(b)(6)
                               14
                                  LIVE NATION ENTERTAINMENT
                               15 INC., TICKETMASTER, INC., LIVE
                                  NATION, INC., INSTANT LIVE                   Hearing Date:  October 12, 2023
                               16 CONCERTS, LLC, MLB/MLB                       Time:          10:00 a.m.
                                  ADVANCED MEDIA, INC.,                        Judge: Hon. Maame Ewusi-Mensah
                               17 PHISH/PHISH LIVE, COWAN                      Courtroom:     8B
                                  LIEBOWITZ & LATMAN, PC,
                               18 HINSHAW & CULBERTSON, LLP,
                                  BAKER BOTTS, LLP, Does I-X,
                               19
                                                Defendants.
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                               21
                               22 TO: ALL PARTIES AND THEIR ATTORNEYS OF RECORD HEREIN:
                               23        PLEASE TAKE NOTICE that, on October 12, 2023, or as soon thereafter as
                               24 this matter may be heard in the United States District Court, Central District of
                               25 California, located at 350 West First Street, Los Angeles, California 90012, before
                               26 the Hon. Maame Ewusi-Mensah, Defendants HINSHAW & CULBERTSON, LLP
                               27 ("the Defendant") will and hereby do move this Court for an order dismissing
                               28 ///
                                                                           1                 Case No. 2:23-cv-04381-MEMF-E
                                    DEFENDANT HINSHAW & CULBERTSON, LLP'S NOTICE OF MOTION TO DISMISS PURSUANT TO CR
                                                                        12(b)(6)
                               Case 2:23-cv-04381-MEMF-E     Document 22      Filed 09/08/23   Page 2 of 2 Page ID
                                                                   #:378



                                1 Plaintiff's Complaint against the Defendant pursuant to Federal Rules of Civil
                                2 Procedure, Rule 12(b)(6) and enjoining Plaintiff from filing new litigation against
                                3 Hinshaw & Culbertson related to the underlying facts of Plaintiff's complaint here.
                                4        This motion is made following multiple unsuccesful attempts to reach
                                5 Plaintiff to confer about this motion, pursuant to L.R. 7-4, as detailed in the attached
                                6 Declaration of Heather L. Rosing.
                                7                                       KLINEDINST PC
                                8
                                9
                                                                        By:
                               10 DATED: September 8, 2023
                                                                              Heather L. Rosing
                               11                                             Ryan S Little
501 WEST BROADWAY, SUITE 600
 SAN DIEGO, CALIFORNIA 92101




                               12                                             Attorneys for HINSHAW &
                                                                              CULBERTSON, LLP
                               13
        KLINEDINST PC




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                                                                           2                 Case No. 2:23-cv-04381-MEMF-E
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                                                                        12(b)(6)
